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16
                          IN THE UNITED STATES DISTRICT COURT
17
                                  FOR THE DISTRICT OF ARIZONA
18
19   United States of America,                                 No. CR-18-422-PHX-SMB

20                            Plaintiff,
                                                           UNITED STATES’ NOTICE OF
21             v.                                          INTENT TO OFFER BUSINESS
22                                                           RECORDS PURSUANT TO
     Michael Lacey, et al.,                               FEDERAL RULE OF EVIDENCE
23                                                                  902(11)
                              Defendants.
24
25          Pursuant to Federal Rule of Evidence 902(11), the United States notices its intent to

26   use written certifications of business records in lieu of live testimony by a record custodian

27   at trial. Attached as Exhibit A is the United States’ proposed Exhibit 1792, business record

28   certification including the bates number, exhibit number, and description of corresponding


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 1   records. Attached as Exhibit B is United States’ proposed Exhibit 1791, business record
 2   certification including the bates number, exhibit number, and description of corresponding
 3   records. The certifications and underlying records have been disclosed to Defendants. In
 4   the interest of efficiency, the attached certifications will be used in lieu of live testimony.
 5
 6          Respectfully submitted this 25th day of August, 2021.
 7                                               GLENN B. McCORMICK
                                                 Acting United States Attorney
 8                                               District of Arizona
 9
                                                 s/ Margaret Perlmeter
10                                               KEVIN M. RAPP
                                                 MARGARET PERLMETER
11                                               PETER S. KOZINETS
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17                                               REGINALD E. JONES
                                                 Senior Trial Attorney
18                                               U.S. Department of Justice, Criminal Division
                                                 Child Exploitation and Obscenity Section
19
20
21
                                   CERTIFICATE OF SERVICE
22
            I hereby certify that on this same date, I electronically transmitted the attached
23
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
24
     Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
25
     as counsel of record.
26
     s/Marjorie Dieckman
27   U.S. Attorney’s Office
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